      Case 3:20-cv-00263-BSM-JTK Document 16 Filed 11/06/20 Page 1 of 1




                       IN THE UNITED STATES DISTRICT COURT
                           EASTERN DISTRICT OF ARKANSAS
                                NORTHERN DIVISION

RONNIE FLOW,
ADC #097599                                                                         PLAINTIFF

v.                                  3:20CV00263-BSM-JTK

DEXTER PAYNE, et al.                                                            DEFENDANTS

                                            ORDER

       This matter is before the Court on Defendants’ Motion to Dismiss (Doc. No. 13). As of

this date, Plaintiff has not filed a response to the Motion. Accordingly,

       IT IS, THEREFORE, ORDERED that Plaintiff shall file a response to Defendants’ Motion

to Dismiss within fifteen (15) days of the date of this Order. Failure to respond to this Court's

Order may result in the dismissal without prejudice of the Plaintiff's Complaint for failure to

prosecute. See Local Rule 5.5(c)(2).

       IT IS SO ORDERED this 6th day of November, 2020.




                                             _________________________________
                                             JEROME T. KEARNEY
                                             UNITED STATES MAGISTRATE JUDGE
